          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR30



UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                     ORDER
                         )
BILLY JOE SANDERS        )
TAMMIE RAINES SANDERS    )
                                         )


     THIS MATTER is before the Court sua sponte.

     By Order filed June 19, 2006, counsel for the Defendants was

directed to file consents on or before July 7, 2006, signed by each

Defendant, acknowledging that counsel’s representation of both

Defendants may involve a potential conflict of their interests, and given

such, each Defendant consented to counsel’s continued representation of

both Defendants. No such consents have been filed.

     IT IS, THEREFORE, ORDERED that this matter be scheduled for a

status of counsel hearing before the Magistrate Judge forthwith. If no

consent forms are received prior to the hearing or presented by counsel at

the hearing, the Magistrate Judge shall make appropriate inquiry of each


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Defendant and whether or not refund of counsel’s retainer is warranted in

order for Defendant to obtain substitute counsel.



                                     Signed: July 11, 2006




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